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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                      Case No. 09-cr-11-PB

Joseph Delgado, et al.



                               O R D E R

     Defendant Rupert Pamphile, through counsel, has moved to

continue the   trial scheduled for June 2, 2009, citing the need

for additional time to finalize plea negotiations.           The

government and co-defendants do not object to a continuance of

the trial date.

     Accordingly, for the above reasons and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from June 2, 2009 to July 7, 2009.            In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
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      The May 26, 2009 final pretrial conference is continued to

June 29, 2009 at 3:45 p.m.

      No further continuances.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

May 26, 2009

cc:   Michael Ramsdell, Esq.
      Liam D. Scully, Esq.
      John Pendleton, Esq.
      Ray Raimo, Esq.
      Terry Ollila, AUSA
      United States Probation
      United States Marshal




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